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                               List of Supporting Counsel

           Pursuant to Paragraph 6 within Pretrial Order No. 1 (Dkt #2) in this MDL, please find

below a list of names of other counsel who have filed cases in this MDL and who support this

leadership application:

        Counsel                        Firm                               Case(s)
 Lesley E. Weaver           Bleichmar Fonti & Auld LLP      Schinder v. Facebook, Inc., et al
                            Oakland, California             3:18-cv-2571-VC (N.D.Ca.)

 Daniel C. Hedlund          Gustafson Gluek PLLC            Schinder v. Facebook, Inc., et al
                            Minneapolis, Minnesota          3:18-cv-2571-VC (N.D.Ca.)

 Christopher P. Ridout      Zimmerman Reed LLP              Bouillon v. Facebook, Inc.
                            Manhattan Beach, California     4:18-cv-2565 (N.D.Ca.)

 Ben Barnow                 Barnow and Associates, P.C.     Iron Wing, et al v. Facebook, Inc.
                            Chicago, Illinois               3:18-cv-2122-VC (N.D.Ca.)

 Timothy G. Blood           Blood Hurst & O'Reardon,        Iron Wing, et al v. Facebook, Inc.
                            LLP                             3:18-cv-2122-VC (N.D.Ca.)
                            San Diego, California
                                                            O'Hara, et al v. Facebook, Inc., et al
                                                            8:18-cv-571-AG-JDE (C.D.Ca.)

 Tina Wolfson               Ahdoot & Wolfson, PC            Diaz Sanchez v. Facebook, Inc., et al
                            Los Angeles, California         3:18-cv-2381-VC (N.D.Ca.)

 Derek W. Loeser            Keller Rohrback L.L.P.          Haslinger v. Facebook, Inc., et al
                            Seattle, Washington             3:18-cv-1984-VC (N.D.Ca.)

 W. Craft Hughes            Hughes Ellzey, LLP              Lodowski, et al v. Facebook, Inc, et
                            Houston, Texas                  al
                                                            3:18-cv-3484-VC (N.D.Ca.)
                                                            4:18-cv-907 (S.D.Tx.)

 Archibald I. Grubb, II     Beasley, Allen, Crow,           Williams v. Facebook, Inc., et al
                            Methvin, Portis & Miles, P.C.   2:18-cv-535-RDP (N.D.Al.)
                            Montgomery, Alabama

 Gary F. Lynch              Carlson Lynch Sweet Kilpela Gennock, et al v. Facebook, Inc., et al
                            & Carpenter, LLP            3:18-cv-1891-VC (N.D.Ca.)
                            Pittsburgh, PA



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        Counsel                   Firm                                Case(s)
 Arthur M. Murray       Murray Law Firm                Gennock, et al v. Facebook, Inc., et al
                        New Orleans, Louisiana         3:18-cv-1891-VC (N.D.Ca.)

 Kenneth W. DeJean      Law Offices of Kenneth W. Gennock, et al v. Facebook, Inc., et al
                        Dejean                    3:18-cv-1891-VC (N.D.Ca.)
                        Lafayette, Louisiana

 April F. Doss          Saul Ewing Arnstein & Lehr, Pelc v. Facebook, Inc., et al
                        LLP                         3:18-cv-2948-VC (N.D.Ca.)
                        Baltimore, Maryland

 Michael J. Flannery    Cuneo Gilbert & LaDuca, LLP O'Hara, et al v. Facebook, Inc., et al
                        St. Louis, Missouri         8:18-cv-571-AG-JDE (C.D.Ca.)

 Marlon E. Kimpson      Motley Rice LLC                Skotnicki v. Facebook, Inc., et al.
                        Mount Pleasant, South          1:18-cv-655-UNA (D.De.)
                        Carolina
                                                       Picha et al. v. Facebook, Inc., et al.
                                                       3:18-cv-2090-VC (N.D.Ca.)




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